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                         15      Dr. Seuss Enterprises, L.P.
                         16                           UNITED STATES DISTRICT COURT
                         17                        SOUTHERN DISTRICT OF CALIFORNIA
                         18      DR. SEUSS ENTERPRISES, L.P., a         CASE NO.: 3:16-cv-02779-JLS-BGS
                                 California limited partnership,
                         19                                             PLAINTIFF DR. SEUSS
                                             Plaintiff,                 ENTERPRISES L.P.’S STATEMENT
                         20                                             OF UNDISPUTED MATERIAL
                                       v.                               FACTS IN SUPPORT OF MOTION
                         21                                             FOR SUMMARY JUDGMENT
                                 COMICMIX LLC, a Connecticut
                         22      limited liability company; MR.
                                 GLENN HAUMAN, an individual;
                         23      MR.       DAVID        JERROLD
                                 FRIEDMAN         A/K/A   DAVID
                         24      GERROLD, an individual; and MR.
                                 TY TEMPLETON, an individual,
                         25
                                             Defendants.
                         26
                         27
                         28
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    S A N F RA N C I S C O                                                                                      SOF
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                             1 I.         INTRODUCTION
                             2              Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule
                             3      7.1.f.1, plaintiff Dr. Seuss Enterprises, L.P. (“DSE”) hereby submits the following
                             4      Separate Statement of Undisputed Material Facts in Support of DSE’s Motion For
                             5      Summary Judgment. These undisputed material facts establish that DSE is entitled to
                             6      summary judgment as to its claims of copyright infringement of DSE’s registered
                             7      copyrights in How the Grinch Stole Christmas!, The Sneetches and Other Stories,
                             8      and Oh, the Places You’ll Go! pursuant to the Copyright Act (17 U.S.C. § 101 et
                             9      seq.), against defendants ComicMix LLC, Glenn Hauman, David Gerrold, and Ty
                         10         Templeton (collectively, the “Defendants”).
                         11
                         12                    UNDISPUTED MATERIAL FACT                           SUPPORTING
                         13                                                                         EVIDENCE
                         14          1.     DSE is a California limited partnership        Duvdevani Decl., Ex. 5
                         15          2.     DSE is the owner of the copyright in the book Duvdevani Decl., Ex. 6;
                         16          titled How the Grinch Stole Christmas! (“Grinch”), Brandt Decl., ¶¶ 2-3, 6-11,
                         17          which has been duly registered with the Copyright 13-20, Exs. 1-2, 5-9, 11-18
                         18          Office.
                         19          3.     DSE is the owner of the copyright in the book Duvdevani       Decl.,    Ex.   4
                         20          titled The Sneetches and Other Stories (“The (Brandt Tr. at 32:17-33:19);
                         21          Sneetches”), which has been duly registered with the Duvdevani Decl., Ex. 7;
                         22          Copyright Office.                                     Brandt Decl. ¶¶ 4-6, 11, 13-
                         23                                                                20, Exs. 3-5, 9, 11-18
                         24          4.        DSE is the owner of the copyright in the book Duvdevani    Decl.,    Ex.   4
                         25          titled Oh, the Places You’ll Go! (“Go!”), which has (Brandt Tr. at 32:17-33:19);
                         26          been duly registered with the Copyright Office.       Duvdevani Decl., Ex. 8;
                         27                                                                Brandt Decl. ¶ 12-20, Exs.
                         28
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                             1
                                           UNDISPUTED MATERIAL FACT                             SUPPORTING
                             2
                                                                                                 EVIDENCE
                             3
                                                                                          10-11, 18
                             4
                                 5.        Go! by Dr. Seuss.                              Duvdevani Decl., Ex. 9
                             5
                                 6.        Grinch by Dr. Seuss.                           Duvdevani Decl., Ex. 10
                             6
                                 7.        The Sneetches by Dr. Seuss                     Duvdevani Decl., Ex. 11
                             7
                                 8.        On or around May 27, 2016, Defendant Duvdevani Decl., Exs. 12-13
                             8
                                 Gerrold wrote Defendant Hauman an e-mail stating
                             9
                                 “If we could get a license, we should do a Star Trek
                         10
                                 Primer.” Gerrold and Hauman further discussed
                         11
                                 creating a Star Trek “50th Anniversary reprinting of
                         12
                                 a classic children’s book, as if it had existed in the
                         13
                                 past.”
                         14
                                 9.        On or around May 28, 2016 Hauman said to Duvdevani          Decl.,   Ex.   2
                         15
                                 Gerrold that if they make a parody of “TWO things (Gerrold Tr. 37:11-38:23);
                         16
                                 (Pat The Bunny and Trek) we’re on safer ground, I Duvdevani Decl., Ex. 12
                         17
                                 think. Still, a license may be available. Let me think
                         18
                                 on it.”
                         19
                                 10.       Defendants never contacted CBS to determine Duvdevani       Decl.,   Ex.   2
                         20
                                 whether a license would be available from CBS for (Gerrold Tr. at 97:21-98:9;
                         21
                                 their use       of Star-Trek     intellectual property. 161:15-163:6);
                         22
                                 Likewise, Defendants never contacted DSE prior to Duvdevani           Decl.,   Ex.   3
                         23
                                 the instant action to determine whether a license (Hauman Tr. at 85:8-15;
                         24
                                 would be available from DSE for their use of DSE’s 93:14-25)
                         25
                                 intellectual property.                                   Duvdevani Decl., Ex. 32
                         26
                                                                                          (Defs. Supp. Resp. Rog Nos.
                         27
                                                                                          4)
                         28
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    S A N F RA N C I S C O                                                                                            SOF
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                             1
                                         UNDISPUTED MATERIAL FACT                             SUPPORTING
                             2
                                                                                                  EVIDENCE
                             3
                                                                                        Duvdevani Decl., Ex. 33
                             4
                                                                                        (Defs. Resp. to RFA Nos. 2-
                             5
                                                                                        3; 8-9)
                             6
                                 11.     Hauman suggested that he and Gerrold check Duvdevani Decl., Ex. 13
                             7
                                 on “what we can do as a parody, which is pretty dang
                             8
                                 broad as long as we aren’t doing too much trademark
                             9
                                 violation.”
                         10
                         11
                                 12.     Hauman suggested that they “go with ‘Pat The Duvdevani       Decl.    Ex.    3
                         12
                                 Tribble,” because he believed they were “less likely (Hauman Tr. at 65:5-74:17)
                         13
                                 to be sued thanks to [Gerrold’s] ‘arrangement’ with Duvdevani Decl., Ex. 13
                         14
                                 Paramount.”
                         15
                                 13.     Gerrold had neither an “arrangement” with, Duvdevani         Decl.,    Ex.   2
                         16
                                 nor a “blanket license” from Paramount to use Star (Gerrold Tr. at 51:12-53:9;
                         17
                                 Trek intellectual property without authorization.      18:20-19:16; 21:5-15)
                         18
                                                                                        Duvdevani Decl., Ex. 13
                         19
                                 14.     As of at least May 29, 2016, Defendants Duvdevani            Decl.    Ex.    2
                         20
                                 Gerrold and Hauman were aware that “Fun With (Gerrold Tr. at 55:16-56:9;
                         21
                                 Kirk and Spock – A Parody” was a licensed Star Trek 212:20-213:18);
                         22
                                 work.                                                  Duvdevani     Decl.    Ex.    3
                         23
                                                                                        (Hauman     Tr.   at   133:20-
                         24
                                                                                        135:12; 142:15-143:4)
                         25
                                                                                        Duvdevani Decl. Exs. 13-14,
                         26
                                                                                        16
                         27
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                             1
                                        UNDISPUTED MATERIAL FACT                               SUPPORTING
                             2
                                                                                                EVIDENCE
                             3
                                 15.   On or around May 28, 2016, Hauman Duvdevani Decl., Ex. 13
                             4
                                 proposed to Gerrold several titles for their project,
                             5
                                 including “Oh, The Places You’ll Boldly Go!”,
                             6
                                 “Goodnight Khan”, “Goodnight That’s No Moon”
                             7
                                 for Star Wars, and “The Very Hungry Sandworm”.
                             8
                                 16.   Hauman was “slightly concerned” that “Fun Duvdevani             Decl.,     Ex.   2
                             9
                                 With Kirk and Spock – A Parody,” was licensed, but (Gerrold Tr. at 97:3-98:9)
                         10
                                 concluded that Boldly was “well-protected by Duvdevani Decl. 16
                         11
                                 parody” – “of course, IANAL” (which is shorthand
                         12
                                 for “I Am Not a Lawyer.”)
                         13
                                 17.    Without consulting an attorney before Boldly Duvdevani         Decl.,     Ex.   3
                         14
                                 was completed, Hauman, who is not an attorney, felt (Hauman Tr. at 48:17-23;
                         15
                                 “pretty secure” that Boldly would be and ultimately 74:18-83:5; 189:9-191:2)
                         16
                                 was a parody.                                           Duvdevani Decl., Ex. 16
                         17
                         18      18.   Gerrold did not consult an attorney regarding Duvdevani         Decl.,     Ex.   2
                         19      the creation of Boldly and at least as of December 3, (Gerrold Tr. at 46:12-47:1;
                         20      2016, had not retained an attorney.                     97:21-99:8;            167:9-23;
                         21                                                              169:14-15)
                         22
                         23      19.   Templeton did not consult an attorney Duvdevani                 Decl.,     Ex    1
                         24      regarding the creation Boldly and at least as of (Templeton Tr. 184:16-24;
                         25      November 17, 2016, had not retained an attorney.        233:10-16)
                         26                                                              Duvdevani Decl., Ex. 17
                         27
                         28
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    S A N F RA N C I S C O                                                                                           SOF
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                             1
                                        UNDISPUTED MATERIAL FACT                                 SUPPORTING
                             2
                                                                                                  EVIDENCE
                             3
                                 20.   On May 28, 2016, Hauman wrote Gerrold an Duvdevani Decl., Ex. 13
                             4
                                 e-mail, including a mock-up of Boldly’s cover art,
                             5
                                 and stating: “Well, if you’re not doing this [referring
                             6
                                 to Boldly], I am.”
                             7
                                 21.   On May 28, 2016, Hauman wrote Gerrold an Duvdevani Decl., Ex. 15
                             8
                                 e-mail recreating the entire text of Go!, and
                             9
                                 providing “Fast photos of the images,” of Go!’s
                         10
                                 artwork.
                         11
                                 22.   Gerrold and Hauman agreed to create Boldly Duvdevani Decl., Ex. 16
                         12
                                 on May 28, 2018.
                         13
                                 23.   Hauman and Gerrold were “worried” about Duvdevani                Decl.,   Ex.   3
                         14
                                 DSE’s reaction to their unauthorized use of Dr. (Hauman Tr. at 74:18-83:5);
                         15
                                 Seuss’s works in Go!                                      Dudevani Decl., Ex. 18
                         16
                         17
                                 24.   While creating Boldly, Hauman and Gerrold Duvdevani              Decl.,   Ex.   2
                         18
                                 discussed the legal risks for “maybe 30 seconds” or (Gerrold Tr. at 30:9-33:20)
                         19
                                 “45 seconds” before concluding it would be “okay”
                         20
                                 because it “was going to be a parody.”
                         21
                                 25.   After Hauman and Gerrold decided to create Duvdevani Decl., Ex. 19
                         22
                                 Boldly, and before engaging Templeton, ComicMix
                         23
                                 reached out to two artists, attaching a cover mock-
                         24
                                 up of the concept, to “work in a style reminiscent of
                         25
                                 Ted Geisel” for an “illustrated fiction.”
                         26
                         27
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                             1
                                          UNDISPUTED MATERIAL FACT                               SUPPORTING
                             2
                                                                                                   EVIDENCE
                             3
                                 26.     Hauman and Gerrold planned for Boldly to Duvdevani Decl., Ex. 20
                             4
                                 include “24 spread illustrations”, “just as you’d see
                             5
                                 in a Seuss book.”
                             6
                             7   27.     Hauman intended for Boldly to be “family- Duvdevani Decl., Ex. 20
                             8   friendly”, and safe enough “for 5 year olds.”
                             9
                                 28.       On June 14, 2016, Hauman wrote an e-mail Duvdevani Decl., Ex. 25
                         10
                                 to Defendant Ty Templeton sending him a mock-up
                         11
                                 of the cover art for Boldly and inviting him to join
                         12
                                 the project as an “illustrator” and possibly
                         13
                                 “contributing” to the script.
                         14
                                 29.       Hauman’s e-mail to Templeton on June 14, Duvdevani Decl., Ex. 25
                         15
                                 2016, also stated, in part:
                         16
                                       “If we’re going to do a crowdfunding campaign,
                         17
                                       we’re going to want the cover and at least a
                         18
                                       background art piece for promotions, as well as
                         19
                                       be able to use the cover for posters, mugs, and
                         20
                                       all the merchandise that will push this thing over
                         21
                                       the top.”
                         22
                                 30.     Templeton accepted Hauman’s invitation to Duvdevani Decl., Ex. 25
                         23
                                 participate in Boldly, writing: “Holy CRAP that's a
                         24
                                 cool idea. The title is like printing money. I'm
                         25
                                 totally in.”
                         26
                                 31.
                         27
                         28
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                             1
                                        UNDISPUTED MATERIAL FACT                                SUPPORTING
                             2
                                                                                                    EVIDENCE
                             3
                                 32.   Hauman selected Templeton to illustrate Duvdevani                Decl.,      Ex.   3
                             4
                                 Boldly, in part, because of his skill “evoking” the (Hauman           Tr.     at   101:5-
                             5
                                 styles of other preexisting properties.                  103:13)
                             6
                                 33.   Defendants had access to Go! when creating Duvdevani             Decl.,      Ex.   1
                             7
                                 Boldly.                                                  (Templeton         Tr.    176:3-
                             8
                                                                                          177:24);
                             9
                                                                                          Duvdevani     Decl.,      Ex.   2
                         10
                                                                                          (Gerrold Tr. at 89:20-90:7;
                         11
                                                                                          91:5-22; 92:3-17);
                         12
                                                                                          Duvdevani Decl., Ex. 21, 22
                         13
                                 34.   Before writing Boldly, Gerrold ordered a copy Duvdevani          Decl.,      Ex.   2
                         14
                                 of Go! in order to “parallel it as close as [he could].” (Gerrold Tr. at 94:9-95:20);
                         15
                                                                                          Duvdevani Decl., Ex. 21
                         16
                         17
                                 35.   On June 20, 2016, Gerrold completed a first Duvdevani            Decl.,      Ex.   2
                         18
                                 draft of Boldly “from scratch”, which “focus[ed] on (Gerrold Tr. at 112:3-19);
                         19
                                 the Star Trek aspect more than the specific parallels Duvdevani Decl., Ex. 23
                         20
                                 with anything in the Seuss book.” Gerrold’s first
                         21
                                 draft was “full of references that would be R- or even
                         22
                                 X-rated and eventually we toned those down a little
                         23
                                 bit,” when writing Boldly.
                         24
                         25
                         26
                         27
                         28
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                             1
                                        UNDISPUTED MATERIAL FACT                                   SUPPORTING
                             2
                                                                                                      EVIDENCE
                             3
                                 36.   Templeton testified that in his “original Duvdevani                 Decl.,   Ex.   1
                             4
                                 layouts” for Boldly he “ignored” the layouts in Go! (Templeton Tr. at 217:12-
                             5
                                 “trying for a ‘Seussian’” style by “drawing based on 220:21; 226:10-229:21);
                             6
                                 the text”, but that it “wasn’t close enough to Duvdevani Decl., Ex. 24
                             7
                                 OTPYG”, so he “started matching drawings from
                             8
                                 the original.”
                             9
                                 37.   Templeton testified that after he drew Duvdevani                    Decl.,   Ex.   1
                         10
                                 approximately “half” of the layouts for the project, (Templeton Tr. at 226:10-
                         11
                                 Hauman told him to “go closer” to Go!.                     229:21)
                         12
                                 38.   On July 12, 2016, Templeton wrote an email Duvdevani Decl., Ex. 26
                         13
                                 to Hauman and others stating, in part: “The point of
                         14
                                 the original story is that life is an adventure but it
                         15
                                 WILL be tough and there WILL be setbacks, and
                         16
                                 you should not despair of them. I think its why the
                         17
                                 original resonates so much, especially as a
                         18
                                 graduation gift for folks who grew up reading Seuss.
                         19
                                 I think we have to keep to that sentiment to make the
                         20
                                 parody and spirit work.”
                         21
                                 39.     Defendants     were    interested         in   the Duvdevani      Decl.,   Ex.   1
                         22
                                 “commercial prospects” or “trying to make a profit” (Templeton             Tr.     194:21-
                         23
                                 off Boldly.                                                197:23);
                         24
                                                                                            Duvdevani      Decl.,   Ex.   2
                         25
                                                                                            (Gerrold Tr. at 60:14-62:4;
                         26
                                                                                            156:14-157:3;141:1-4);
                         27
                                                                                            Duvdevani Decl., Exs. 25,
                         28
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                             1
                                        UNDISPUTED MATERIAL FACT                                  SUPPORTING
                             2
                                                                                                    EVIDENCE
                             3
                                                                                            27;
                             4
                                                                                            Duvdevani Decl., Ex. 33
                             5
                                                                                            (Defs. Resp. to RFA No. 10)
                             6
                                 40.   Gerrold testified that Boldly represents a Duvdevani              Decl.,   Ex.   2
                             7
                                 professional level of production.                          (Gerrold Tr. at 156:2-157:7)
                             8
                                 41.   On July 18 2016, Hauman contacted John Duvdevani Decl., Ex. 28
                             9
                                 Frazier at ThinkGeek, an ecommerce retailer, to see
                         10
                                 whether    ThinkGeek      would     handle     printing,
                         11
                                 distribution, and merchandising for Boldly.
                         12
                                 42.   In response to Hauman’s inquiry regarding Duvdevani Decl., Ex. 29
                         13
                                 printing, distribution, and merchandising, Frazier
                         14
                                 responded “it goes without saying you’ve got the
                         15
                                 license though, right.”
                         16
                                 43.   For “reassurance” Hauman represented to Duvdevani                 Decl.,   Ex.   3
                         17
                                 ThinkGeek that no license was needed because (Hauman Tr. at 94:17-96:15);
                         18
                                 Boldly was a “straight parody fair use of both Seuss Duvdevani Decl., Ex. 29
                         19
                                 and Trek” and that Gerrold was “grandfathered in on
                         20
                                 Star Trek books,” because of “arcane licensing
                         21
                                 issues”, but understood if this “complicate[d]
                         22
                                 matters for [ThinkGeek].”
                         23
                                 44.   Hauman did not seek opinion of counsel Duvdevani                  Decl.,   Ex.   3
                         24
                                 whether Boldly was a “straight parody fair use of (Hauman Tr. at 92:7-22)
                         25
                                 both Seuss and Trek” before representing to
                         26
                                 ThinkGeek that Boldly was a “straight parody.”
                         27
                         28
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                             1
                                        UNDISPUTED MATERIAL FACT                                SUPPORTING
                             2
                                                                                                 EVIDENCE
                             3
                                 45.   ThinkGeek wrote to Hauman that it could Duvdevani               Decl.,    Ex.   3
                             4
                                 “carry the book if it fell under DG’s [Gerrold’s] (Hauman           Tr.    at   96:16-
                             5
                                 blanket license,” but Hauman never corrected 100:12);
                             6
                                 ThinkGeek’s misguided belief.                            Duvdevani Decl., Ex. 29
                             7
                                 46.   Hauman summarized his conversation with Duvdevani Decl., Ex. 30
                             8
                                 Frazier in an email to Keiren Smith, stating, “good
                             9
                                 news”: “we’ll be selling [ThinkGeek][] a lot of stuff”
                         10
                                 although it was “unlikely” that ThinkGeek would
                         11
                                 handle “fulfillment on merchandise” because Boldly
                         12
                                 was “unlicensed.”
                         13
                                 47.   Defendants provided to DSE a completed Duvdevani Decl., Ex. 31
                         14
                                 version of Boldly on or around October 27, 2016.
                         15
                                 48.   Gerrold testified that the cover of Boldly Duvdevani            Decl.,    Ex.   2
                         16
                                 “looks like a Star Trek children’s… book that has a (Gerrold Tr. at 69:16-70:4)
                         17
                                 Dr. Seuss style or you could even say it looks like it
                         18
                                 was produced by Seuss”, but upon a closer
                         19
                                 inspection you “realize it is not Dr. Seuss,” it “is a
                         20
                                 mashup, a parody of both Star Trek and Dr. Seuss.”
                         21
                                 49.   Templeton testified that to copy Seuss’s Duvdevani Decl., Ex.                   1
                         22
                                 illustration style he would “have the original book (Templeton Tr. at 170:23-
                         23
                                 open to what [he] was looking at.” Then, he would 171:11; 176:3-177:24)
                         24
                                 “study the page.” After that, he would “rough out the
                         25
                                 positions the characters are in” or “rough out the
                         26
                                 layout.” Once he was “satisfied” with the positions
                         27
                                 of the characters he would “render” them and
                         28
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    S A N F RA N C I S C O                                                                                            SOF
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                             1
                                        UNDISPUTED MATERIAL FACT                              SUPPORTING
                             2
                                                                                                 EVIDENCE
                             3
                                 “meticulously to reproduce as much of the line work
                             4
                                 as [he could].”    Templeton testified that “[t]he
                             5
                                 process was pretty well similar for every page.”
                             6
                                 50.   Templeton copied Dr. Seuss’s illustration Duvdevani            Decl.,     Ex.   1
                             7
                                 style for Boldly even by adopting Dr. Seuss’s (Templeton Tr. at 75:23-
                             8
                                 “physical movement state” in order to use the 77:2;             118:5-22;      130:18-
                             9
                                 technique of “cross-hatching” in “a similar way”.     131:16;        135:22-136:22;
                         10
                                                                                       147:7-13; 150:21-23; 151:16-
                         11
                                                                                       18; 156:3-25; 157:5-159:22;
                         12
                                                                                       161:20-162:12;           167:14-
                         13
                                                                                       171:21; 173:16-174:7; 176:3-
                         14
                                                                                       177:24)
                         15
                                 51.   Since Dr. Seuss’s death, DSE has released Duvdevani            Decl.,     Ex.   4
                         16
                                 anniversary editions, reissues in new formats or (Brandt Tr. at 55:15-56:14;
                         17
                                 sizes, and updated editions or annotations of the 83:4-20);
                         18
                                 iconic Dr. Seuss books, and posthumous releases of Duvdevani Decl., Exs. 84 (at
                         19
                                 Dr. Seuss’s previously-unpublished works.             DSE0000945), 86
                         20
                         21
                         22
                         23
                         24      52.   Among other features typical of Dr. Seuss’s Duvdevani          Decl.,     Ex.   1
                         25      illustration style, Templeton copied Dr. Seuss’s:     (Templeton Tr. at 110:2-12;
                         26            • cover of “Oh, The Places You’ll Go!”;         123:9-124:11; 127:2-128:14;
                         27            • Characters;                                   130:18-132:20;          133:9-19;
                         28
DLA P IPER LLP (US)
                                                                         -11-
    S A N F RA N C I S C O                                                                                           SOF
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                             1
                                       UNDISPUTED MATERIAL FACT                              SUPPORTING
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                             3
                                       • Layouts;                                     133:20-134:15;         135:22-
                             4
                                       • poses of the characters;                     136:22;        137:19-138:17;
                             5
                                       • expressions of the characters faces;         140:13-141:9; 142:3-144:7;
                             6
                                       •   location of images on the page;            146:17-147:13;       148:8-24;
                             7
                                       • eyes (“since Dr. Seuss draws eyes that 150:21-23; 151:4-18; 153:1-
                             8
                                           way, I drew eyes that way”);               5; 153:23-154:17; 156:3-25;
                             9
                                       • “fondness for the button nose”               157:1-7; 158:7-25; 161:8-16;
                         10
                                       • Trees (“Dr. Seuss often illustrated trees, 161:17-162:12;           166:14-
                         11
                                           with big, long, loopy circles…”); (“a dead 171:21;         173:16-174:7;
                         12
                                           gnarled tree…that I reproduced rather 175:24-177:24)
                         13
                                           carefully”);                               Duvdevani Decl., Exs. 9, 31;
                         14
                                       • Grass (even though it was “not his Duvdevani Decl., Ex. 33
                         15
                                           signature style of drawing grass”);        (Def. Resp. to RFA Nos. 4-5)
                         16
                                       • Circles and lines with “an imprecise
                         17
                                           quality”;
                         18
                                       • The machinery;
                         19
                                       • The walls;
                         20
                                       • The archways;
                         21
                                       • The coloring;
                         22
                                       • The horizons; and
                         23
                                       • The “spindly necks” and “boneless feet” of
                         24
                                           the monsters.
                         25
                                 53.   Templeton          testified   to   taking   a Duvdevani Decl., Ex.          1
                         26
                                 “painstakingly” long time to make his illustrations (Templeton Tr. at 166:14-
                         27
                                 look “nearly identical” to Dr. Seuss’s taking 171:13; 241:21-243:18)
                         28
DLA P IPER LLP (US)
                                                                           -12-
    S A N F RA N C I S C O                                                                                          SOF
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                             1
                                        UNDISPUTED MATERIAL FACT                                SUPPORTING
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                                                                                                  EVIDENCE
                             3
                                 between three and seven hours to match certain
                             4
                                 images up “exactly.”
                             5
                                 54.    Days after DSE filed the instant lawsuit Duvdevani Decl., Ex. 24
                             6
                                 against the Defendants, Templeton stated that he
                             7
                                 “went TOO far in copying the [Seuss] source
                             8
                                 material,” and he “did, in fact, slavishly” copy from
                             9
                                 Seuss” “to make the layouts (and incidental bits of
                         10
                                 machinery, etc)” as accurate to the originals.”
                         11
                                 55.    Gerrold testified that the Defendants made Duvdevani            Decl.,   Ex.   2
                         12
                                 “significant usage of the style and the poetic meter (Gerrold Tr. at 157:4-7)
                         13
                                 that Dr. Seuss also uses.”
                         14
                                 56.    Templeton testified that he drew “Batman Duvdevani              Decl.,   Ex.   1
                         15
                                 comic[s] for DC and Warner Brothers” but that even (Templeton Tr. at 42:23-
                         16
                                 if he had “an idea” for a Batman comic he would not 45:24)
                         17
                                 draw it, write it or find someone to publish it because
                         18
                                 publishers and distributors would “be concerned that
                         19
                                 Warner Brothers would be mad at them” for making
                         20
                                 use of a Warner Brothers “trademark.” Templeton
                         21
                                 testified, in other words, that he was aware that using
                         22
                                 an intellectual property holder’s intellectual property
                         23
                                 without authorization would likely result in getting
                         24
                                 “hit” for trademark infringement.
                         25
                                 57.    While creating Boldly, Hauman created a Duvdevani Decl., Ex. 34
                         26
                                 side-by-side comparison of the text of Boldly and
                         27
                                 Go!.
                         28
DLA P IPER LLP (US)
                                                                           -13-
    S A N F RA N C I S C O                                                                                             SOF
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                             1
                                        UNDISPUTED MATERIAL FACT                                   SUPPORTING
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                                                                                                   EVIDENCE
                             3
                                 58.   Concerning whether Boldly commented on Duvdevani                 Decl.,   Ex.   2
                             4
                                 Dr. Seuss, Gerrold testified: “There might be, there (Gerrold Tr. at 78:20-80:3)
                             5
                                 might not be, I don’t know anymore. It is what you
                             6
                                 read into it. Is there a comment on Dr. Seuss? Yeah,
                             7
                                 the comment is we’re acknowledging he is a cultural
                             8
                                 touchstone but if there’s a comment beyond that I’m
                             9
                                 not sure what it would be because I don’t think in
                         10
                                 those terms[.]”
                         11
                                 59.   Defendants had/have no plans to do a Duvdevani                   Decl.,   Ex.   2
                         12
                                 “scientifically controlled study” to test whether the (Gerrold Tr. at 131:19-22)
                         13
                                 public thinks Boldly is a parody.                         Duvdevani Decl., Ex. 32
                         14
                                                                                           (Defs. Supp. Resp. to Rog.
                         15
                                                                                           No.6)
                         16
                                 60.   Hauman testified that Boldly is “Seussian.”         Duvdevani    Decl.,   Ex.   3
                         17
                                                                                           (Hauman Tr. at 35:7-18)
                         18
                                 61.   In response to an inquiry from Allison Adler, Duvdevani Decl., Exs. 35-36
                         19
                                 Editor at Andrews McMeel Publishing (“AMP”),
                         20
                                 regarding the cover of Boldly, on September 26,
                         21
                                 2018, Hauman wrote an email to Allison Adler,
                         22
                                 pasting the then-current cover of Boldly on top of the
                         23
                                 cover of Go! stating, in relevant part “Pretty close to
                         24
                                 what you see, which is pretty darn close to the
                         25
                                 original.[…] Are you looking for more color
                         26
                                 variation, to make it closer to the original?”
                         27
                                 62.   On September 28, 2016 Adler wrote an e-mail Duvdevani Decl., Ex. 37 (at
                         28
DLA P IPER LLP (US)
                                                                           -14-
    S A N F RA N C I S C O                                                                                             SOF
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                             1
                                        UNDISPUTED MATERIAL FACT                                SUPPORTING
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                                                                                                 EVIDENCE
                             3
                                 to Hauman, attaching a copy edited text of Boldly CMX000845)
                             4
                                 “for David’s review”
                             5
                                 63.   On September 29, 2016, Gerrold wrote an Duvdevani Decl., Ex. 38
                             6
                                 email to Hauman stating: “Most of the changes are
                             7
                                 approved. I made one or two corrections”
                             8
                                 64.   In addition to the edits provided by AMP, Duvdevani Decl., Ex. 38
                             9
                                 Hauman and Gerrold changed the written format to
                         10
                                 “sentence case, even where there are line breaks, as
                         11
                                 Seuss does.”
                         12
                                 65.   On September 29, 2016, Hauman wrote an Duvdevani Decl., Ex. 39
                         13
                                 email to Adler attaching a copy of text titled “Oh the
                         14
                                 Places _ CEd MS (gerrold approved).docx” The
                         15
                                 attachment included a new “Global Note” stating:
                         16
                                 “I’m going back to Seuss’s style in the original
                         17
                                 OTPYG, which is straight sentence case, even across
                         18
                                 stanza breaks. (References available upon request.)”
                         19
                                 66.   On August 31, 2016, Defendants launched a Duvdevani             Decl.,   Ex.   2
                         20
                                 fundraising campaign on Kickstarter.com to raise (Gerrold           Tr.   at   113:18-
                         21
                                 money to publish Boldly.                                 116:23);
                         22
                                                                                          Duvdevani Decl., Ex. 40
                         23
                                 67.   Defendants’      Kickstarter   campaign    page Duvdevani       Decl.,   Ex.   3
                         24
                                 stated, in part, in a section titled “Risks and (Hauman             Tr.   at   188:21-
                         25
                                 challenges”, “While we firmly believe that our 191:2);
                         26
                                 parody, created with love and affection, fully falls Duvdevani Decl., Ex. 33
                         27
                                 within the boundary of fair use, there may be some (Defs. Resp. to RFA No. 13);
                         28
DLA P IPER LLP (US)
                                                                          -15-
    S A N F RA N C I S C O                                                                                            SOF
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                             1
                                        UNDISPUTED MATERIAL FACT                                SUPPORTING
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                                                                                                EVIDENCE
                             3
                                 people who believe that this might be in violation of Duvdevani Decl., Ex. 40
                             4
                                 their intellectual property rights. And we may have
                             5
                                 to spend time and money proving it to people in
                             6
                                 black robes. And we may even lose that.”
                             7
                                 68.   Hauman testified knowing there was a Duvdevani                Decl.,   Ex.   3
                             8
                                 “possibility” that the defendants would be sued (Hauman           Tr.   at   189:20-
                             9
                                 when the Kickstarter campaign was launched.           191:2)
                         10
                         11
                                 69.   On October 7, 2016, DSE submitted to Duvdevani Decl., Exs. 41-42
                         12
                                 Kickstarter a DMCA takedown notice concerning
                         13
                                 Defendants’ Kickstarter campaign for Boldly.
                         14
                                 70.   Hauman and Gerrold considered getting Duvdevani               Decl.,   Ex.   2
                         15
                                 William Shatner, George Takei, or Nichelle Nichols (Gerrold      Tr.    at   191:17-
                         16
                                 to perform an audiobook reading of Boldly.            193:11);
                         17
                                                                                       Duvdevani Decl., Ex. 43
                         18
                                 71.   Defendants intended merchandise products Duvdevani Decl., Ex. 27;
                         19
                                 related to Boldly for a “lucrative payday for all Duvdevani Decl., Ex. 33
                         20
                                 involved” and to that end checked on “pricing for (Defs. Resp. to RFA No. 16);
                         21
                                 posters, shirts, iPhone cases, etc. and fulfillment for Duvdevani Decl., Ex. 44
                         22
                                 all of the same.”
                         23
                                 72.   Defendants considered sequels to Boldly Duvdevani Decl., Ex. 44;
                         24
                                 including “OH THE PLACES YOU’LL BOLDLY Duvdevani Decl., Ex. 45 (at
                         25
                                 GO: THE NEXT GENERATION”, “PICARD AMU 6-29-2018 Production
                         26
                                 HEARS A Q”, “                                         000023)
                         27
                                            ”
                         28
DLA P IPER LLP (US)
                                                                         -16-
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                             1
                                        UNDISPUTED MATERIAL FACT                         SUPPORTING
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                                                                                           EVIDENCE
                             3
                                 73.   On September 6, 2016, Adler wrote an e-mail Duvdevani Decl., Ex. 46
                             4
                                 to her fellow editors
                             5
                             6
                                         .
                             7
                                 74.   On September 12, 2016, Adler wrote an e- Duvdevani Decl., Ex. 48 (at
                             8
                                 mail to herself,                                  AMU 6-29-2018 Production
                             9
                                                                                   000003)
                         10
                         11
                         12
                                 75.                                               Duvdevani Decl., Ex. 48 (at
                         13
                                                                                   AMU 6-29-2018 Production
                         14
                                                                                   000004-000005)
                         15
                         16
                                 76.                                               Duvdevani Decl., Ex. 47
                         17
                         18
                         19
                         20
                                 77.                                               Duvdevani Decl., Ex. 47
                         21
                         22
                         23
                                 78.   On September 13, 2016,                      Duvdevani Decl., Ex. 49
                         24
                         25
                         26
                         27
                         28
DLA P IPER LLP (US)
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    S A N F RA N C I S C O                                                                                      SOF
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                             1
                                           UNDISPUTED MATERIAL FACT                           SUPPORTING
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                                                                                               EVIDENCE
                             3
                                 79.                                                    Duvdevani Decl., Ex. 49
                             4
                             5
                             6
                             7
                             8
                             9
                         10
                                 80.   On September 15, 2016, AMP contacted Duvdevani Decl., Ex. 50
                         11
                                 Gerrold and Templeton to gauge their interest in
                         12
                                 having “traditional publishing partner.”
                         13
                                 81.   Templeton forwarded AMP’s introductory e- Duvdevani Decl., Ex. 50
                         14
                                 mail to Hauman.
                         15
                         16
                                 82.   On September 15, 2016, Adler wrote an e- Duvdevani Decl., Ex. 51
                         17
                                 mail to Hauman requesting additional information
                         18
                                 about “who the retail order is from, how many copies
                         19
                                 you’ve discussed with them, as well as your exact
                         20
                                 print specs so we can run a p&l and make you an
                         21
                                 offer.”
                         22
                                 83.   Later on September 15, 2016,                     Duvdevani Decl., Ex. 45 (at
                         23
                                                                                        AMU 6-29-2018 Production
                         24
                                                                                        000023)
                         25
                         26
                         27
                         28
DLA P IPER LLP (US)
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                             1
                                        UNDISPUTED MATERIAL FACT                             SUPPORTING
                             2
                                                                                              EVIDENCE
                             3
                                 84.   Hauman wrote to Adler, the                      Duvdevani Decl., Ex. 45 (at
                             4
                                                                                       AMU 6-29-2018 Production
                             5
                                                                                       000023)
                             6
                             7
                             8   85.   Hauman wrote to Adler                           Duvdevani Decl., Ex. 45 (at

                             9                                                         AMU 6-29-2018 Production

                         10                                                            000023)

                         11
                         12
                         13
                                 86.   On September 16, 2016,                          Duvdevani Decl., Ex. 52 (at
                         14
                                                                                       AMU 6-29-2018 Production
                         15
                                                                                       000025)
                         16
                         17
                         18
                                 87.   On September 19, 2016, AMP extended an e- Duvdevani Decl., Ex. 53
                         19
                                 mail offer to the defendants of $5,000.
                         20
                                 88.   Between September 19, 2016 and September Duvdevani Decl., Ex. 54
                         21
                                 21, 2016, Adler and Hauman negotiated the terms of
                         22
                                 AMP’s offer.
                         23
                                 89.   Gerrold approved of AMP’s offer.                Duvdevani Decl., Ex. 55
                         24
                                 90.   Hauman accepted AMP’s offer stating “Let’s Duvdevani Decl., Ex. 54
                         25
                                 have some fun and make some money![…] but
                         26
                                 requested in “the final contract” payment terms for
                         27
                                 “dramatic, merchandise, motion picture, tv, radio,
                         28
DLA P IPER LLP (US)
                                                                           -19-
    S A N F RA N C I S C O                                                                                         SOF
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                             1
                                         UNDISPUTED MATERIAL FACT                                SUPPORTING
                             2
                                                                                                  EVIDENCE
                             3
                                 etc.”
                             4
                                 91.     On September 23, 2018, Adler wrote an e- Duvdevani Decl., Ex. 56
                             5
                                 mail to telling Hauman, stating, in relevant part: “So
                             6
                                 the plan is to do a first printing big enough for the
                             7
                                 ThinkGeek promotion [for Black Friday] and your
                             8
                                 backers’ copies, which we’re thinking of as like an
                             9
                                 “exclusive early edition” and then we’ll publish fully
                         10
                                 in the Spring. Sound good?”
                         11
                                 92.                                                       Duvdevani Decl., Exs. 57-58
                         12
                         13
                         14
                         15
                         16
                                 93.                                                       Duvdevani Decl., Exs. 59-60
                         17
                         18
                         19
                                 94.     On September 28, 2016, Hauman forwarded Duvdevani Decl., Ex. 61
                         20
                                 Adler the DSE cease and desist letter dated
                         21
                                 September 28, 2016, stating “Just got this in from
                         22
                                 the Seuss lawyers.”
                         23
                                 95.     On September 28, 2016, Adler wrote an e- Duvdevani Decl., Ex. 61
                         24
                                 mail to Hauman stating: “Just sent right over to legal.
                         25
                                 Will let you know what I hear.”
                         26
                         27
                         28
DLA P IPER LLP (US)
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    S A N F RA N C I S C O                                                                                             SOF
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                             1
                                       UNDISPUTED MATERIAL FACT                              SUPPORTING
                             2
                                                                                               EVIDENCE
                             3
                                 96.   On September 29, 2016,                         Duvdevani Decl., Ex. 62
                             4
                             5
                             6
                             7
                                 97.   On or around September 29, 2016,               Duvdevani Decl., Ex. 63
                             8
                             9
                         10
                         11
                         12
                         13
                                 98.   After DSE initiated the instant suit against the Duvdevani Decl., Ex. 64
                         14
                                 Defendants,
                         15
                         16
                         17
                         18
                                 99.   Hauman testified that he “did not believe Duvdevani           Decl.,    Ex.   3
                         19
                                 Gerrold had a blanket license”, from CBS or (Hauman               Tr.    at   99:17-
                         20
                                 Paramount, but never bothered to “correct[]” 100:12)
                         21
                                 ThinkGeek’s misunderstanding.
                         22
                                 100. Hauman testified that Boldly was intended to Duvdevani         Decl.,    Ex.   3
                         23
                                 be marketed, in part, to graduates or as a gift for (Hauman Tr. at 184:2-25;
                         24
                                 graduates.                                           186:4-188:15);
                         25
                                                                                      Duvdevani Decl., Exs. 40, 65
                         26
                         27
                         28
DLA P IPER LLP (US)
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                             1
                                        UNDISPUTED MATERIAL FACT                                   SUPPORTING
                             2
                                                                                                     EVIDENCE
                             3
                                 101. Defendants ComicMix and Hauman testified Duvdevani                 Decl.,    Ex.   3
                             4
                                 that Go! is a book marketed for and sold around (Hauman Tr. at 185:2-186:3;
                             5
                                 school graduations.                                       188:11-15)
                             6
                             7   102. Defendant Templeton knew that Go! is often Duvdevani Decl., Ex. 26

                             8   given as a graduation gift.

                             9
                         10      103. After DSE initiated the instant action, Duvdevani Decl., Ex. 66
                         11      Hauman represented to ThinkGeek that he would
                         12      “LOVE” to offer Boldly to ThinkGeek to meet their
                         13      request to offer Boldly “for graduation on the site[.]”
                         14
                         15      104. On September 28, 2016 Ryan Compton and Duvdevani                   Decl.,    Ex.   1
                         16      James Stewart of DLA Piper LLP (US) sent a cease (Templeton Tr. at 201:5-16;
                         17      and desist letter to Gerrold, Templeton, and 202:22-25);
                         18      Hauman, who each admitted to receiving the letter.        Duvdevani     Decl.,    Ex.   2
                         19                                                                (Gerrold Tr. at 132:5-19);
                         20                                                                Duvdevani     Decl.,    Ex.   3
                         21                                                                (Hauman      Tr.   at   200:22-
                         22                                                                202:7);
                         23                                                                Duvdevani Decl., Exs. 61,
                         24                                                                67-69
                         25      105. On October 7, 2016 Ryan Compton and James Duvdevani Decl., Ex.                     1
                         26      Stewart of DLA Piper LLP (US) sent a second cease (Templeton Tr. at               202:22-
                         27      and desist letter to Gerrold, Templeton, and 25);
                         28
DLA P IPER LLP (US)
                                                                           -22-
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                             1
                                        UNDISPUTED MATERIAL FACT                                SUPPORTING
                             2
                                                                                                   EVIDENCE
                             3
                                 Hauman, who each testified to receiving the letter.     Duvdevani      Decl.,   Ex.   2
                             4
                                                                                         (Gerrold    Tr.   at    135:21-
                             5
                                                                                         136:10);
                             6
                                                                                         Duvdevani      Decl.,   Ex.   3
                             7
                                                                                         (Hauman Tr. at 216:9-16)
                             8
                                                                                         Duvdevani Decl., Ex. 70
                             9
                                 106. On October, 25 2016, Ryan Compton and Duvdevani                   Decl.,   Ex.   1
                         10
                                 James Stewart of DLA Piper LLP (US) sent a third (Templeton Tr. 202:22-25);
                         11
                                 cease and desist letter to Gerrold, Templeton, and Duvdevani           Decl.,   Ex.   2
                         12
                                 Hauman, who each testified to receiving the letter.     (Gerrold    Tr.   at    139:18-
                         13
                                                                                         141:4);
                         14
                                                                                         Duvdevani      Decl.,   Ex.   3
                         15
                                                                                         (Hauman Tr. at 250:14-23)
                         16
                                                                                         Duvdevani Decl., Ex. 71
                         17
                                 107. On October 26, 2018, Hauman retained a Duvdevani Decl., Ex. 72
                         18
                                 lawyer, Dan Booth of Booth Sweet LLP, to represent
                         19
                                 ComicMix.
                         20
                                 108. On October 28, 2016, Booth sent a letter to Duvdevani             Decl.,   Ex.   2
                         21
                                 DLA Piper LLP (US) on behalf of ComicMix only, (Gerrold Tr. 141:9-142:19)
                         22
                                 responding to the three cease and desist letters sent Duvdevani Decl., Ex. 73;
                         23
                                 by DLA Piper to the Defendants and the DMCA
                         24
                                 takedown notice sent by DLA Piper on behalf of
                         25
                                 DSE to Kickstarter on October 7, 2016.
                         26
                                 109. On October 28, 2016, Hauman sent a DMCA Duvdevani Decl., Ex. 74
                         27
                                 counter-notice to Kickstarter, copying Booth.
                         28
DLA P IPER LLP (US)
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                             1
                                        UNDISPUTED MATERIAL FACT                                 SUPPORTING
                             2
                                                                                                  EVIDENCE
                             3
                                 110. CBS objected to Defendants’ use of Star Trek Duvdevani Decl., Ex. 75
                             4
                                 intellectual property in Boldly.
                             5
                                 111. In an e-mail dated July 12, 2016, Keiren Duvdevani                Decl.,   Ex.   2
                             6
                                 Smith, Defendant Templeton’s wife, and “office (Templeton Tr. at 65:15-21)
                             7
                                 manager” wrote an e-mail to Hauman, expressing Duvdevani Decl., Ex. 76
                             8
                                 Templeton’s concern that Boldly was unlicensed.
                             9
                                 112.    Hauman was “more worried about the Dr. Duvdevani Decl., Ex. 76
                         10
                                 Seuss people” than CBS, but because Boldly was a
                         11
                                 “parody,” Hauman suspected that it was “more
                         12
                                 likely that they’ll see the product and want to publish
                         13
                                 it themselves.”
                         14
                                 113. On September 28, 2016, Templeton e-mailed Duvdevani               Decl.,   Ex.   2
                         15
                                 Hauman, stating in part: “Are we ignoring the cease (Templeton Tr. 202:8-21)
                         16
                                 and desist letter to keep the schedule?”                  Duvdevani Decl., Ex. 68
                         17
                         18
                                 114. The same day DLA Piper LLP (US) sent Duvdevani Decl., Ex. 68
                         19
                                 Defendants the first cease and desist letter on
                         20
                                 September 28, 2017, Templeton testified to “basing
                         21
                                 some of, but not all of, the layouts on Seuss
                         22
                                 layouts. The crew in the above shot, for instances is
                         23
                                 supposed to feel like the Whos singing at the end of
                         24
                                 Grinch. And the Gorn and Kirk are posed like the
                         25
                                 Boxing Gox from Hop on Pop. The Weird Arches
                         26
                                 above are intentionally similar to a set of weird
                         27
                                 arches the character walks under in Oh The Places
                         28
DLA P IPER LLP (US)
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    S A N F RA N C I S C O                                                                                             SOF
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                             1
                                        UNDISPUTED MATERIAL FACT                                  SUPPORTING
                             2
                                                                                                  EVIDENCE
                             3
                                 You'll Go.”
                             4
                                 115. Hauman did not consult an attorney after Duvdevani              Decl.,    Ex.   3
                             5
                                 receiving the September 28 cease and desist letter, (Hauman         Tr.   at    219:7-
                             6
                                 but told Templeton that the letter was “running a 220:13)
                             7
                                 bluff” and that the “mistake” in the letter was Duvdevani Decl., Ex. 68
                             8
                                 expressing that Boldly was not a parody when the
                             9
                                 defendants “very specifically” were “obviously
                         10
                                 commenting on Dr. Seuss.”
                         11
                                 116. After AMP withdrew from its agreement to Duvdevani              Decl.,    Ex.   3
                         12
                                 publish Boldly, Defendants asked ThinkGeek to (Hauman Tr. 206:10-208:23;
                         13
                                 move forward on a direct sale publication. 216:22-219:6);
                         14
                                 Defendants did not tell ThinkGeek about DSE’s Duvdevani Decl., Ex. 65, 77-
                         15
                                 cease-and-desist letter or the reason for AMP’s 78
                         16
                                 withdrawal. Hauman, on behalf of the Defendants,
                         17
                                 tried to fulfill ThinkGeek’s purchase order by: (1)
                         18
                                 requesting shipping details and timing on October 4;
                         19
                                 (2) expressing that Defendants “should be able to hit
                         20
                                 2nd week for full order” on October 7; (3) providing
                         21
                                 ThinkGeek a “complete” version of Boldly on
                         22
                                 October 13.
                         23
                                 117. Defendants never sent ThinkGeek any of Duvdevani                Decl.,    Ex.   3
                         24
                                 DSE’s three cease and desist letters.                   (Hauman     Tr.   at   216:22-
                         25
                                                                                         219:6)
                         26
                                 118. Defendants did not inform ThinkGeek of Duvdevani Decl., Ex.                     3
                         27
                                 “legal issues” with DSE until October 17, 2016, (Hauman             Tr.   at   216:22-
                         28
DLA P IPER LLP (US)
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    S A N F RA N C I S C O                                                                                           SOF
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                             1
                                        UNDISPUTED MATERIAL FACT                                    SUPPORTING
                             2
                                                                                                    EVIDENCE
                             3
                                 nineteen days after informing AMP.                        219:6)
                             4
                                                                                           Duvdevani Decl., Ex. 79
                             5
                             6   119. After informing ThinkGeek that Dr. Seuss Duvdevani Decl., Ex. 79

                             7   sent a cease and desist to the Defendants, Hauman,

                             8   on behalf of the Defendants, still tried to meet

                             9   ThinkGeek’s purchase order for 5,000 copies of

                         10      Boldly by November 15, 2016, asking “What’s the

                         11      drop dead date for delivery to your warehouse?

                         12      November 11?”

                         13      120. On or around October 14, 2016, Hauman, on Duvdevani Decl., Ex. 80 (at

                         14      behalf of ComicMix, signed a ThinkGeek Product CMX004385-CMX004386);

                         15      Quality Agreement, which included a representation Duvdevani Decl., Ex. 81

                         16      that Boldly “[did] not violate or infringe any patent,

                         17      trademark,    trade   dress,   copyright     or   other

                         18      intellectual property or third party right” and a

                         19      provision whereby ComicMix would indemnify

                         20      ThinkGeek for all third party claims arising out of

                         21      the “the infringement or alleged infringement of any

                         22      patent, trademark, copyright or other intellectual

                         23      property or third party right[…]”.

                         24
                         25
                         26
                         27
                         28
DLA P IPER LLP (US)
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    S A N F RA N C I S C O                                                                                             SOF
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                             1
                                         UNDISPUTED MATERIAL FACT                               SUPPORTING
                             2
                                                                                                     EVIDENCE
                             3
                                 121. On October 8, 2016, Hauman wrote an e-mail Duvdevani Decl., Ex. 65
                             4
                                 to Gerrold, Templeton, and others stating, in part: “I
                             5
                                 am still rushing to get the print order ready”, but the
                             6
                                 “larger problem” was Kickstarter withholding the
                             7
                                 campaign funds based on DSE’s DMCA takedown
                             8
                                 notice. Hauman further stated “[i]f we have to pull
                             9
                                 the order from TG, we can smooth things over with
                         10
                                 them by explaining that we’re dealing with legal
                         11
                                 matters and didn’t want to expose them to it, which
                         12
                                 I’m sure they’ll appreciate, and they’ll have new
                         13
                                 orders in time for school graduations. (And of
                         14
                                 course, Seuss screwing up our order will be added to
                         15
                                 their bill.)”
                         16
                         17      122. On October 26,           2018,   Keiren Smith, Duvdevani Decl., Ex. 69
                         18      Templeton’s wife, wrote an e-mail to Hauman
                         19      stating: “Given the content of the letter [from DSE],
                         20      doesn’t seem like you can proceed with any
                         21      ThinkGeek deal in good faith. And if they don’t hear
                         22      from someone, they’re basically saying they’re
                         23      continuing onto a lawsuit.”
                         24      123. As of October 28, 2016, Gerrold had neither Duvdevani             Decl.,   Ex.   2
                         25      responded to DSE’s cease and desist letters, nor (Gerrold            Tr.   at   163:20-
                         26      consulted with an attorney.                               167:23)
                         27      124. On November 13, 2016, Gerrold wrote an e- Duvdevani Decl., Ex. 24;
                         28      mail to the other Defendants stating: “You know, Duvdevani             Decl.,   Ex.   1
DLA P IPER LLP (US)
                                                                       -27-
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                             1
                                        UNDISPUTED MATERIAL FACT                                  SUPPORTING
                             2
                                                                                                    EVIDENCE
                             3
                                 there is a way out of this [lawsuit.]” Gerrold noted (Templeton Tr. at 218:12-
                             4
                                 that “A lot of our artwork is based on Suess' 219:8)
                             5
                                 artwork.” Gerrold suggested “new artwork” that
                             6
                                 was “not specifically based on any individual
                             7
                                 drawing by Suess, but close enough to his style to
                             8
                                 match the text. If we replace the stuff that's too dead-
                             9
                                 on, yes it's extra work for Ty, but it really weakens
                         10
                                 their case.” Templeton offered to revert to those
                         11
                                 layouts if it “helped.” But those revisions were
                         12
                                 never made.
                         13
                                 125. On November 15, 2016, Hauman wrote an e- Duvdevani Decl., Ex. 82
                         14
                                 mail to Frazier, with the subject line “Delay on ‘Oh,
                         15
                                 The Places You’ll Boldly Go!,” stating, in part:
                         16
                                 “Due to legal action from Dr. Seuss Enterprises, we
                         17
                                 are not going to be able to provide ‘Oh, The Places
                         18
                                 You’ll Boldly Go!’ to you in time for the 2016
                         19
                                 holiday season.”
                         20
                                 126. On November 15, 2016, Frazier wrote an e- Duvdevani Decl., Ex. 83
                         21
                                 mail to Hauman stating, in part: “It was a risk, to be
                         22
                                 sure, but one I thought was worthy of the attempt.”
                         23
                                 127. Defendants started a GoFundMe page to Duvdevani                     Decl.,   Ex.   3
                         24
                                 supplement the costs of litigation.                        (Hauman Tr. at 246:5-18)
                         25
                                 128. DSE licenses publishers, like Random House, Duvdevani               Decl.,   Ex.   4
                         26
                                 the right to use DSE’s intellectual property.              (Brandt Tr. at 36:8-37:17)
                         27
                                 129. DSE      is   “intimately    involved”      in   the Duvdevani      Decl.,   Ex.   4
                         28
DLA P IPER LLP (US)
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                             1
                                        UNDISPUTED MATERIAL FACT                               SUPPORTING
                             2
                                                                                               EVIDENCE
                             3
                                 developing and publishing of books and other (Brandt Tr. 36:8-38:4; 182:8-
                             4
                                 projects by working closely with its licensees.      184:7)
                             5
                             6
                                 130. DSE is “very specific” in selecting licensing Duvdevani       Decl.,   Ex.   4
                             7
                                 partners and projects and has “very high standards” (Brandt Tr. at 109:17-110:5)
                             8
                                 for licensing standards.
                             9
                                 131.                                                 Duvdevani     Decl.,   Ex.   4
                         10
                                                                                      (Brandt Tr. at 181:3-185:17;
                         11
                                                                                      256:5-257:22; 310:8-314:9;
                         12
                                                                                      316:3-321:17);
                         13
                                                                                      Duvdevani Decl., Ex. 85
                         14
                         15
                                 132.   DSE licenses authors and illustrators up to 30 Duvdevani    Decl.,   Ex.   4
                         16
                                 new books a year, depending on the “marketing (Brandt Tr. at 39:11-19)
                         17
                                 efforts” of DSE in a given year.
                         18
                         19
                                 133. DSE has a publishing schedule with Random Duvdevani           Decl.,   Ex.   4
                         20
                                 House that identifies book releases, planned (Brandt Tr. at 41:11-43:15);
                         21
                                 strategically up to 10 quarters in advance of a book Duvdevani Decl., Ex. 86
                         22
                                 release.
                         23
                                 134. DSE has licensed ghost writers and ghost Duvdevani            Decl.,   Ex.   4
                         24
                                 illustrators to release books based upon and (Brandt Tr. at 55:15-56:14)
                         25
                                 incorporate Geisel’s works, including “The Cat In
                         26
                                 The Hat’s Learning Library” series and “The Cat In
                         27
                                 The Hat Know’s A Lot About That” series.
                         28
DLA P IPER LLP (US)
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                             1
                                        UNDISPUTED MATERIAL FACT                                 SUPPORTING
                             2
                                                                                                   EVIDENCE
                             3
                                 135. The Cat In The Hat’s Learning Library series Duvdevani Decl., Exs. 87-91
                             4
                                 includes titles such as Oh, The Things You Can Do
                             5
                                 That Are Good For You!, There’s No Place Like
                             6
                                 Space!, Oh, Say Can You Say What’s The Weather
                             7
                                 Today?, and Oh, The Pets You Can Get!, all of which
                             8
                                 are written by ghost writers and ghost illustrators.
                             9
                                 136.   Books are the “foundation” of DSE’s Duvdevani                    Decl.,   Ex.   4
                         10
                                 business.                                                (Brandt Tr. at 56:25-57:15;
                         11
                                                                                          109:17-110:5)
                         12
                                 137. Dr. Seuss is one of the best-selling children’s Duvdevani Decl., Ex. 84 (at
                         13
                                 book authors in the world.                               DSE0000941);
                         14
                                                                                          Duvdevani Decl., Ex. 92 (at
                         15
                                                                                          DSE0002305-2306)
                         16
                                 138. DSE is in multiple businesses, including Duvdevani                 Decl.,   Ex.   4
                         17
                                 entertainment (i.e., films, television, and stage (Brandt Tr. at 56:25-57:15;
                         18
                                 productions), “exhibitions”, the “ancillary license 57:19-59:5);
                         19
                                 products business” (i.e., apparel, school supplies, Duvdevani Decl., Exs. 84,
                         20
                                 houseware, baby items”), digital media, and 93-94, 107
                         21
                                 education, which “protect[] and support[]” DSE’s
                         22
                                 book business.
                         23
                                 139.                                                     Duvdevani      Decl.,   Ex.   4
                         24
                                                                                          (Brandt Tr. at 59:8-60:2);
                         25
                                                                                          Duvdevani Decl., Ex. 126
                         26
                         27
                                 140.                                                     Duvdevani      Decl.,   Ex.   4
                         28
DLA P IPER LLP (US)
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                             1
                                        UNDISPUTED MATERIAL FACT                            SUPPORTING
                             2
                                                                                                 EVIDENCE
                             3
                                                                                      (Brandt Tr. at 61:8-62:24)
                             4
                                 141. Go! is DSE’s best-selling book.                 Duvdevani     Decl.,   Ex.   4
                             5
                                                                                      (Brandt Tr. at 71:2-11);
                             6
                                                                                      Duvdevani Decl., Ex. 84 (at
                             7
                                                                                      DSE0000941-DSE0000942)
                             8
                                                                                      Duvdevani Decl., Ex. 93 (at
                             9
                                                                                      DSE0001018)
                         10
                                                                                      Duvdevani Decl., Ex. 108 (at
                         11
                                                                                      DSE0000956)
                         12
                         13
                                 142. DSE has licensed derivative Go! books Duvdevani               Decl.,   Ex.   4
                         14
                                 including, a 2015 25th Anniversary special edition (Brandt Tr. at 75:7-79:22;
                         15
                                 “Go!”, Go!: Oh, Baby! Go, Baby!; Oh, the Places I'll 80:4-7);
                         16
                                 Go! By ME, Myself; Oh, Baby, the Places You’ll Duvdevani Decl., Ex. 33
                         17
                                 Go!; and Oh, the Places I've Been! Journal; Oh, The (Defs. Resp. RFA. No. 12)
                         18
                                 Places You’ll Go (Pop-Up).                           Duvdevani Decl., Ex. 95-
                         19
                                                                                      101, 103-104, 106
                         20
                                 143.                                                 Duvdevani     Decl.,   Ex.   4
                         21
                                                                                      (Brandt Tr. at 80:19-81:20;
                         22
                                                                                      83:4-20)
                         23
                                                                                      Duvdevani Decl., Ex. 33
                         24
                                                                                      (Defs. Resp. RFA No. 12)
                         25
                                 144. DSE licenses merchandise and apparel based Duvdevani Decl., Ex. 93-94,
                         26
                                 on Go!                                               107-108
                         27
                         28
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                             1
                                        UNDISPUTED MATERIAL FACT                          SUPPORTING
                             2
                                                                                            EVIDENCE
                             3
                                 145. Part of DSE’s mission is to support and Duvdevani            Decl.,   Ex.   4
                             4
                                 complement Seuss books and protect the legacy of (Brandt Tr. at 109:7-17)
                             5
                                 Ted Geisel.
                             6
                                 146. DSE produces books for children and books Duvdevani          Decl.,   Ex.   4
                             7
                                 for adults.                                        (Brandt Tr. at 110:7-11)
                             8
                                 147. DSE markets its works to children and adults, Duvdevani      Decl.,   Ex.   4
                             9
                                 even where the intended reader of those works are (Brandt Tr. at 160:12-161:11)
                         10
                                 children.
                         11
                                 148. Some of DSE’s works are intended for both Duvdevani Decl., Ex. 84 (at
                         12
                                 children and adult audiences.   For example, The DSE0000941-DSE0000942)
                         13
                                 Lorax, for example, was the first children’s book to DSE0002302
                         14
                                 appear on The New York Times Best Sellers list for DSE0003386
                         15
                                 both children and adult books.      And Go!, is DSE0003512
                         16
                                 perennially the number-one selling book on The New DSE0000956
                         17
                                 York Times Best Sellers list each spring during
                         18
                                 graduation season.
                         19
                                 149. Other than Go!, Seussisms!, Green Eggs and Brandt Tr. 110:13-116:24;
                         20
                                 Ham Cookbook, The Seuss, the Whole Seuss, and Duvdevani Decl., Ex. 106,
                         21
                                 Nothing But the Seuss, My Many Color Days, Oh, 109-112
                         22
                                 Baby The Places You’ll Go! are examples of books
                         23
                                 licensed by DSE marketed for a young adult
                         24
                                 audience, or older.
                         25
                                 150. DSE licenses “collaborations” also known as Duvdevani        Decl.,   Ex.   4
                         26
                                 “collabs.”                                         (Brandt Tr. at 142:19-146:19;
                         27
                                                                                    151:8-157:12)
                         28
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    S A N F RA N C I S C O                                                                                       SOF
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                             1
                                        UNDISPUTED MATERIAL FACT                                 SUPPORTING
                             2
                                                                                                  EVIDENCE
                             3
                                 151. Brandt testified that a “collab” is “when you Duvdevani           Decl.,     Ex.   4
                             4
                                 combine two different entities, characters, IP, (Brandt Tr. at 142:19-146:19;
                             5
                                 copyright, trademark and create another work.”            151:8-157:12)
                             6
                                 152. For DSE, a “collab” might include combining Duvdevani             Decl.,     Ex.   4
                             7
                                 two different Seuss works together to form a new (Brandt Tr. at 142:19-146:19;
                             8
                                 work, but, “in licensing traditionally,” [DSE] 151:8-157:12)
                             9
                                 considers a “true collab” to combine             DSE’s
                         10
                                 intellectual property with the intellectual property of
                         11
                                 another entity.
                         12
                                 153. DSE’s “collabs” are “not necessarily” limited Duvdevani           Decl.,     Ex.   4
                         13
                                 to DSE’s preexisting work — with another person’s (Brandt Tr. 155:7-19)
                         14
                                 preexisting work; rather a “collab” would be any use
                         15
                                 of DSE’s intellectual property collaborating with
                         16
                                 another person’s intellectual property “to create a
                         17
                                 new work.”
                         18
                                 154. DSE has licensed book “collabs” including Duvdevani               Decl.,     Ex.   4
                         19
                                 the “Wubbulous World of Dr. Seuss” books and is (Brandt Tr. at 125:2-129:2;
                         20
                                                                                           135:25-137:3;         146:2-19;
                         21
                                                                                           151:8-157:12; 166:4-168:12;
                         22
                                                                                           284:19-286:3)
                         23
                                 155. The Wubbulous World Of Dr. Seuss, a Duvdevani Decl., Exs. 113-
                         24
                                 television and book series with The Jim Henson 120
                         25
                                 Company featuring Dr. Seuss’s characters through
                         26
                                 the lens of Jim Henson.
                         27
                                 156. DSE has also licensed other “collabs” Duvdevani                   Decl.,     Ex.   4
                         28
DLA P IPER LLP (US)
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                             1
                                        UNDISPUTED MATERIAL FACT                               SUPPORTING
                             2
                                                                                                EVIDENCE
                             3
                                 combining DSE’s preexisting works with the (Brandt Tr. at 135:25-137:3;
                             4
                                 preexisting works of other parties, including Grinch 157:7-160:5; 166:4-168:12;
                             5
                                 Panda Pop, a digital game that combines Jam City’s 284:19-286:3);
                             6
                                 Panda character with Seuss’s Grinch character, a Duvdevani Decl., Ex. 93 (at
                             7
                                 line of Comme des Garçons clothing combining DSE0001006–
                             8
                                 Comme des Garçons’ heart design with Grinch DSE0001007);
                             9
                                 artwork, Dr. Seuss Funko figurines, which combine Duvdevani Decl., Ex. 94 (at
                         10
                                 Funko Inc.’s toy designs with Dr. Seuss characters DSE0003878-DSE0003879);
                         11
                                 numerous, film-related books, PBS-related books Duvdevani Decl., Ex. 121-
                         12
                                 based on The Cat In The Hat Knows A Lot About 125
                         13
                                 That series, and other projects currently planned for
                         14
                                 future release.
                         15
                                 157. DSE has been approached by comic book Duvdevani                 Decl.,   Ex.   4
                         16
                                 companies for licensing deals and although DSE was (Brandt Tr. at 187:5-189:15;
                         17
                                 not interested “at that time” it regularly evaluates all 284:19-286:3)
                         18
                                 different markets” and comic book licensing is “in
                         19
                                 the realm of possibility.”
                         20
                                 158. Brandt testified that Boldly “copies directly Duvdevani         Decl.,   Ex.   4
                         21
                                 page by page a number of our books” including “Oh, (Brandt Tr. at 300:2-306:18);
                         22
                                 The Places You'll Go!,” “The Sneetches,” “The Duvdevani Decl., Ex. 9-11,
                         23
                                 Zaks,” and “How the Grinch Stole Christmas.”            31
                         24
                         25
                         26
                         27
                         28
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                             1
                                        UNDISPUTED MATERIAL FACT                       SUPPORTING
                             2
                                                                                         EVIDENCE
                             3
                                 159. In 2017, DSE was named the top licensed Duvdevani Decl., Ex. 126
                             4
                                 book brand according to NPD, a market industry
                             5
                                 research firm.
                             6
                             7   Dated: December 11, 2018         Respectfully submitted,
                             8                                    By /s/ Tamar Duvdevani
                                                                    TAMAR DUVDEVANI
                             9                                      DLA Piper LLP (US)
                         10                                         Attorneys for Plaintiff
                                                                    Dr. Seuss Enterprises, L.P.
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DLA P IPER LLP (US)
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